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               ORDERED in the Southern District of Florida on June 12, 2018.
          	  
          	  
          	  
          	  
          	                                           A. Jay Cristol, Judge
          	                                           United States Bankruptcy Court
_____________________________________________________________________________
          	  
          	  
          	  
          	  
          	  
          	  
                                UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI-DADE DIVISION
                                        www.flsb.uscourts.gov

           In re:
                                                             CASE NO.: 16-10389-AJC
           LIZA HAZAN,
                  Debtor.                                    CHAPTER 11
           ________________________________/

             AGREED ORDER GRANTING REORGANIZED DEBTOR’S ORE TENUS MOTION
               TO ADMINISTRATIVELY CLOSE INDIVIDUAL CHAPTER 11 CASE AFTER
                                     CONFIRMATION

                    THIS CAUSE came on before the court on May 30. 2018 upon the Reorganized Debtor’s

           Ore Tenus Motion to Administratively Close Chapter 11 Case after confirmation and prior to the

           entry of an Order of Discharge, (“Reorganized Debtor’s Motion”) and all parties being in

           agreement and the Court having reviewed the file and otherwise being fully advised in the

           premises, it is:

                    ORDERED, Reorganized Debtor’s motion is GRANTED.
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       The instant individual Chapter 11 case shall be administratively closed upon entry of this

Order, without prejudice to the Reorganized Debtor filing a motion to reopen this bankruptcy

case upon the satisfaction of all payments under the Reorganized Debtor’s Fourth Amended Plan

of Reorganization Doc 563 (“the confirmed Plan”) to unsecured creditors and seeking the entry

of an Order of Discharge at that time.

       During the time that this bankruptcy is temporarily closed, the provisions of this Court’s

Order confirming Plan Of Reorganization, entered at Doc. 691; (“the Confirmation Order”) shall

remain in effect with respect to the treatment of creditors’ claims that existed as, the bankruptcy

petition date, as long as the Reorganized Debtor continues to be in compliance with the plan and

the Confirmation Order.

       If and when the Reorganized Debtor chooses to file a motion to reopen this bankruptcy

case, any clerk of Court fees with the filing of the motion to reopen shall be waived.

       Upon the re-opening of this bankruptcy case, the Reorganized Debtor shall promptly file

a Final Report and Motion for Final Decree Closing Case on the Court-approved local form in

effect at that time, which shall certify, that all payments required under the Plan to the unsecured

creditors have been made. The Court may then grant the Reorganized Debtor a discharge,

pursuant to 11 U.S.C §  1141(d)(5) if all other conditions are satisfied.

       The Court retains jurisdiction to enforce any and all terms of the Plan, the Confirmation

Order and this Order.

                                                 ###


Submitted by:

Submitted by:
      DAVID W. LANGLEY
      Attorney for Reorganized Debtor
      8551 W. Sunrise Boulevard, Suite 303
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       Florida Bar Number 348279


The party submitting this order shall serve a copy of the signed order on all parties listed below
and file with the court a certificate of service conforming to Local Rule 2002-1(F).

Copies to: Clerk, U.S. Bankruptcy Court, Office of the U.S. Trustee, all parties of interest



	  
